                                Case 8:18-cv-00500-JLS-KS Document 37-2 Filed 05/23/19 Page 1 of 33 Page ID #:222



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                               10 Victor M. Sanchez, III
                               11
                                                        UNITED STATES DISTRICT COURT
                               12                      CENTRAL DISTRICT OF CALIFORNIA
                               13
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                                    VICTOR M. SANCHEZ, III,                         Case No.: CV 18-500 JLS (KSx)
 245 FISCHER AVENUE, UNIT D1
    COSTA MESA, CA 92626




                               14
                                                   Plaintiff,                       PLAINTIFF VICTOR M. SANCHEZ,
                               15
                                                                                    III’S SEPARATE STATEMENT OF
                               16                         v.                        UNCONTROVERTED FACTS AND
                                                                                    CONCLUSIONS OF
                               17
                                  U.S. BANK NATIONAL                                LAW IN SUPPORT OF
                               18 ASSOCIATION,                                      PLAINTIFF’S MOTION FOR
                                                                                    SUMMARY JUDGMENT, OR
                               19
                                                  Defendant.                        ALTERNATIVELY, PARTIAL
                               20                                                   SUMMARY JUDGMENT
                               21                                                    DATE:  June 28, 2019
                               22                                                    TIME:  10:30 a.m.
                                                                                     COURT: 10A
                               23
                               24                                                   HON. JOSEPHINE L. STATON
                               25
                               26
                               27
                               28
                                    Case # CV 18-500 JLS (KSx)                     Sanchez, III v. U.S. Bank National Association
                                    PLAINTIFF VICTOR M. SANCHEZ, III’S SEPARATE STATEMENT OF UNCONTROVERTED FACTS
                                          AND CONCLUSIONS OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
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                                1 TO ALL PARTIES AND THEIR ATTORNEY’S OF RECORD:
                                2        PLEASE TAKE NOTICE that Plaintiff VICTOR M. SANCHEZ, III
                                3 (“Plaintiff”) submits this Separate Statement of Uncontroverted Facts and
                                4 Conclusions of Law, together with references to supporting evidence, pursuant to
                                5 Chamber Rule VI and Local Rule 56-1, in support of Plaintiff’s Motion for
                                6 Summary Judgment, or alternatively, Partial Summary Judgment against
                                7 Defendant U.S. BANK NATIONAL ASSOCIATION (“Defendant”).
                                8
                                         PLAINTIFF’S UNDISPUTED                         SUPPORTING EVIDENCE:
                                9          MATERIAL FACTS:
                               10                                              Exhibit 1 to Declaration of Matthew
                               11                                              Loker (“Loker Decl.”), (Bates
                                                                               USB_SANCHEZ000347-351 (Initial
                               12                                              Online Application).
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                               13
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                                                                               Exhibit 2 to Loker Decl., (Bates
                               14    1. On August 23, 2015, Victor M.
                                                                               USB_SANCHEZ000010) (Recovery
                                        Sanchez, II, Plaintiff’s father
                               15                                              Management System Account Notes)
                                        (“Father”) submitted an online
                               16       application for a line of credit
                                                                               Exhibit 3 to Loker Decl., (Bates
                                        with U.S. Bank.
                               17                                              VMS_000722) (Call between Sanchez,
                                                                               II and U.S. Bank).
                               18
                               19                                              Declaration of Victor M. Sanchez, III,
                                                                               (“Sanchez, III Decl., ¶¶ 6-11).
                               20
                               21
                                     2. The initial application was            Exhibit 1 to Loker Decl., (Bates
                               22
                                        opened with the email                  USB_SANCHEZ000347 (Initial
                               23       SANCHVM@gmail.com.                     Application).
                               24
                               25
                               26
                               27    Case # CV 18-500 JLS (KSx)         1 of 32 Sanchez, III v. U.S. Bank National Association
                                     PLAINTIFF VICTOR M. SANCHEZ, III’S SEPARATE STATEMENT OF UNCONTROVERTED
                               28   FACTS AND CONCLUSIONS OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
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                                1
                                    3. The initial application lists a         Exhibit 1 to Loker Decl., (Bates
                                2      telephone number ending in              USB_SANCHEZ000347 (Initial
                                3      “8221”.                                 Application).

                                4
                                5   4. The initial application lists a         Exhibit 1 to Loker Decl., (Bates
                                       1963 date of birth.                     USB_SANCHEZ000347 (Initial
                                6                                              Application).
                                7
                                8   5. The initial application lists a         Exhibit 1 to Loker Decl., (Bates
                                       Pointe Drive address as the             USB_SANCHEZ000347 (Initial
                                9
                                       mailing address.                        Application).
                               10
                               11
                                    6. The initial application utilized        Exhibit 1 to Loker Decl., (Bates
                               12      an Arizona Driver’s License.            USB_SANCHEZ000347 (Initial
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                                                                               Application).
                               13
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                               14
                                    7. The initial application lists an        Exhibit 1 to Loker Decl., (Bates
                               15                                              USB_SANCHEZ000347 (Initial
                                       occupation of Project Manager.
                               16                                              Application).
                               17
                               18   8. SANCHVM@***** is an email               Exhibit 1 to Loker Decl., (Bates
                                       for Father.                             USB_SANCHEZ000347 (Initial
                               19                                              Application).
                               20
                                                                               Exhibit 27 to Sanchez, III Decl.,
                               21                                              (Deposition of Victor M. Sanchez, III
                               22                                              (“Sanchez, III Depo.”), 65:11-12; 84:22-
                                                                               25).
                               23
                               24                                              Sanchez, III Decl., ¶ 12.

                               25
                               26
                               27    Case # CV 18-500 JLS (KSx)         2 of 32 Sanchez, III v. U.S. Bank National Association
                                     PLAINTIFF VICTOR M. SANCHEZ, III’S SEPARATE STATEMENT OF UNCONTROVERTED
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                                1
                                    9. The “8221” telephone number             Exhibit 1 to Loker Decl., (Bates
                                2      provided on the initial                 USB_SANCHEZ000347 (Initial
                                3      application is Father’s telephone       Application).
                                       number.
                                4                                              Exhibit 27 to Sanchez, III Decl.,
                                5                                              (Sanchez, III Depo., 85:3-6).

                                6                                              Sanchez, III Decl., ¶ 13.
                                7
                                8   10. The 1963 date of birth on the          Exhibit 1 to Loker Decl., (Bates
                                9       initial application is Father’s        USB_SANCHEZ000347 (Initial
                                        date of birth.                         Application).
                               10
                               11                                              Exhibit 27 to Sanchez, III Decl.,
                                                                               (Sanchez, III Depo., 84:13-21).
                               12
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                               13                                              Sanchez, III Decl., ¶ 14-15.
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                               14
                               15   11. Plaintiff was born in 1983.            Sanchez, III Decl., ¶ 16.
                               16
                               17
                               18
                               19
                                    12. The Pointe Drive, La Brea, CA          Exhibit 27 to Sanchez, III Decl.,
                               20
                                        address in the initial application     (Sanchez, III Depo., 85:18-25).
                               21       is Father’s address.
                                                                               Sanchez, III Decl., ¶ 17.
                               22
                               23
                               24
                               25
                               26
                               27    Case # CV 18-500 JLS (KSx)         3 of 32 Sanchez, III v. U.S. Bank National Association
                                     PLAINTIFF VICTOR M. SANCHEZ, III’S SEPARATE STATEMENT OF UNCONTROVERTED
                               28   FACTS AND CONCLUSIONS OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
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                                1
                                    13. Plaintiff never lived at the           Exhibit 27 to Sanchez, III Decl.,
                                2       Pointe Drive address.                  (Sanchez, III Depo., 85:18-25).
                                3
                                                                               Sanchez, III Decl., ¶ 18.
                                4
                                5
                                6   14. Plaintiff has never had an             Exhibit 27 to Sanchez, III Decl.,
                                7       Arizona driver’s license.              (Sanchez, III Depo., 171:12-14.)
                                8                                              Sanchez, III Decl., ¶ 19-20.
                                9
                               10
                               11
                                                                               Exhibit 27 to Sanchez, III Decl.,
                               12
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                                    15. Plaintiff believes Father has an       (Sanchez, III Depo., 85:12-16.)
 245 FISCHER AVENUE, UNIT D1




                               13       Arizona driver’s license.
    COSTA MESA, CA 92626




                                                                               Sanchez, III Decl., ¶ 19.
                               14
                               15
                                                                               Exhibit 27 to Sanchez, III Decl.,
                               16
                                    16. Project Manager at TRS was             (Sanchez, III Depo., 85:7-11.)
                               17       Father’s occupation.
                                                                               Sanchez, III Decl., ¶ 21.
                               18
                               19
                               20
                                                                               Exhibit 1 to Loker Decl., (Bates
                               21                                              USB_SANCHEZ000347 (Initial
                               22   17. The last four digits of the social     Application).
                                        security number used to open the
                               23       account are “8586”.
                               24
                               25
                               26
                               27    Case # CV 18-500 JLS (KSx)         4 of 32 Sanchez, III v. U.S. Bank National Association
                                     PLAINTIFF VICTOR M. SANCHEZ, III’S SEPARATE STATEMENT OF UNCONTROVERTED
                               28   FACTS AND CONCLUSIONS OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
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                                1
                                2   18. The last four digits of Plaintiff’s    Exhibit 27 to Sanchez, III Decl.,
                                3       social Security number is              (Sanchez, III Depo., 84:8-12.)
                                        “8586”.
                                4
                                5
                                6                                              Exhibit 3 to Loker Decl., (Bates
                                7                                              VMS_000722) (Call between Sanchez,
                                                                               II and U.S. Bank).
                                8   19. Father believes that he did not
                                9       place Plaintiff’s social security      Exhibit 27 to Sanchez, III Decl.,
                                        number on the account.                 (Sanchez, III Depo., 31: 13-21; 87:25-
                               10                                              88:1.)
                               11
                                                                               Sanchez, III Decl., ¶ 22.
                               12
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                               13
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                                                                               Exhibit 1 to Loker Decl., (Bates
                               14   20. The application was approved.
                                                                               USB_SANCHEZ000347 (Initial
                               15                                              Application))
                               16                                              Exhibit 1 to Loker Decl., (Bates
                                    21. Father was given an account at
                               17                                              USB_SANCHEZ000347-8 (Initial
                                        U.S. Bank ending in “8521”
                                                                               Application))
                               18       (“Account”).
                               19
                               20   22. The checks on the Account              Exhibit 1 to Loker Decl., (Bates
                               21       reflect the address, Pointe Drive,     USB_SANCHEZ00520)
                                        Brea, CA
                               22
                               23
                                                                               Exhibit 4 to Loker Decl., (Bates
                               24   23. Father cashed checks into the
                                                                               USB_SANCHEZ000526, 530, 532, 538,
                                        account under his name, “Victor
                               25                                              539 & 541) (Imaged Checks from the
                                        Sanchez, Jr.”
                                                                               U.S. Bank Account).
                               26
                               27    Case # CV 18-500 JLS (KSx)         5 of 32 Sanchez, III v. U.S. Bank National Association
                                     PLAINTIFF VICTOR M. SANCHEZ, III’S SEPARATE STATEMENT OF UNCONTROVERTED
                               28   FACTS AND CONCLUSIONS OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
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                                1
                                2                                              Exhibit 4 to Loker Decl., (Bates
                                    24. Father’s name “Victor Sanchez,
                                                                               USB_SANCHEZ000540) (Imaged
                                3       Jr.” is on a deposit slip.
                                                                               Deposit Slip).
                                4
                                5
                                                                               Exhibit 27 to Sanchez, III Decl.,
                                6                                              (Sanchez, III Depo., 104:8-15)
                                    25. Father’s business is “Electrical
                                7       Systems Testing.”
                                                                               Sanchez, III Decl., ¶ 23.
                                8
                                9
                               10                                              Exhibit 4 to Loker Decl., (Bates
                                    26. Several Checks in the account
                               11                                              USB_SANCHEZ000547, 549, 551, 557,
                                        were from Father’s business to
                                                                               559, 561, 567) (Checks from Electrical
                               12       Father.
                                                                               Systems Testing).
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                               13
    COSTA MESA, CA 92626




                               14   27. One of the checks deposited into Exhibit 4 to Loker Decl.
                               15       the Account was written by       (USB_SANCHEZ000555).
                                        Keith and Suzanne K.
                               16       Malsberger.
                               17
                               18   28. Plaintiff does not know Keith or       Sanchez, III Decl., ¶¶ 30; and, 32.
                               19       Suzanne Malsberger.
                               20
                               21   29. Plaintiff has never received           Sanchez, III Decl., ¶¶ 31 and, 33.
                                        payment from Keith or Suzanne
                               22
                                        Malsberger.
                               23
                               24
                                    30. Two of the checks deposited into Exhibit 4 to Loker Decl.
                               25       the Account was from Liberty     (USB_SANCHEZ000563; and, 565).
                                        Mutual.
                               26
                               27    Case # CV 18-500 JLS (KSx)         6 of 32 Sanchez, III v. U.S. Bank National Association
                                     PLAINTIFF VICTOR M. SANCHEZ, III’S SEPARATE STATEMENT OF UNCONTROVERTED
                               28   FACTS AND CONCLUSIONS OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
                                               JUDGMENT, OR ALTERNATIVELY, PARTIAL SUMMARY JUDGMENT
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                                1
                                    31. Plaintiff has never done business Sanchez, III Decl., ¶ 35
                                2       with Liberty Mutual.
                                3
                                4   32. Plaintiff has never received           Sanchez, III Decl., ¶ 36
                                5       payment from Liberty Mutual.

                                6
                                7                                              Exhibit 4 to Loker Decl., (Bates
                                    33. Multiple checks were deposited         USB_SANCHEZ000522, 524, 526, 528,
                                8       from Turbine Repair Services,          530, 532, 538, 539 & 541) (Imaged
                                9       LLC (“TRS”).                           Checks from the U.S. Bank Account).
                               10
                               11
                                                                               Exhibit 4 to Loker Decl., (Bates
                               12   34. Many of the TRS checks were
                                                                               USB_SANCHEZ000526, 530, 532, 538,
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                                        made payable to Father noting
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                               13                                              539 & 541) (Imaged Checks from the
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                                        that Father’s generation code is
                                                                               U.S. Bank Account).
                               14       Jr.
                               15
                               16                                              Sanchez III Decl., ¶ 41
                                    35. Plaintiff also works for TRS.
                               17
                               18
                               19   36. Plaintiff has never deposited a        Sanchez III Decl., ¶ 42
                                        check from TRS made payable
                               20
                                        to Victor M. Sanchez Jr.
                               21
                               22
                                                                               Sanchez III Decl., ¶ 43
                               23
                                    37. All of Plaintiff’s paychecks from
                                                                          Exhibit 34 to Sanchez, III Decl., TRS
                               24       TRS reflect Plaintiff’s
                                                                          Paycheck, VMS 000735
                                        generation code of III.
                               25
                               26
                               27    Case # CV 18-500 JLS (KSx)         7 of 32 Sanchez, III v. U.S. Bank National Association
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                               28   FACTS AND CONCLUSIONS OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
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                                1
                                    38. Plaintiff’s name “Victor               Exhibit 4 to Loker Decl., (Bates
                                2       Sanchez, III” is not on any            USB_SANCHEZ0000515-67 (Imaged
                                3       checks that were deposited into        Checks)).
                                        the account.
                                4
                                5
                                6   39. A check was cashed into the            Exhibit 4 to Loker Decl., (Bates
                                7       account from V&M Wholesale,            USB_SANCHEZ000535) (Imaged
                                        Inc., with a memo line of “Ford        Check).
                                8       Raptor.”
                                9
                               10
                               11                                              Exhibit 27 to Sanchez, III Decl.,
                                    40. Father owned a Ford Raptor,            (Sanchez, III Depo., 103:12-23.)
                               12       which he sold.
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                               13                                              Sanchez, III Decl., ¶ 24.
    COSTA MESA, CA 92626




                               14
                               15
                                    41. Plaintiff never drove or used the      Exhibit 27 to Sanchez, III Decl.,
                               16       Ford Raptor.                           (Sanchez, III Depo., 103:12-23.)
                               17
                                                                               Sanchez, III Decl., ¶ 24.
                               18
                               19
                               20   42. Plaintiff has never done business      Sanchez, III Decl., ¶ 26.
                               21       with V & M Auto Wholesale,
                                        Inc.
                               22
                               23
                                    43. Father lived at a Huntington           Exhibit 27 to Sanchez, III Decl.,
                               24
                                        Beach address.                         (Sanchez, III Depo., 98:18-99:1.)
                               25
                                                                               Sanchez, III Decl., ¶ 27.
                               26
                               27    Case # CV 18-500 JLS (KSx)         8 of 32 Sanchez, III v. U.S. Bank National Association
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                                1
                                    44. Plaintiff never lived at this          Exhibit 27 to Sanchez, III Decl.,
                                2      Huntington Beach address.               (Sanchez, III Depo., 116:21-117:1.)
                                3
                                                                               Sanchez, III Decl., ¶ 28.
                                4
                                5
                                    45. The statements on the account          Exhibit 23 to Loker Decl., (Bates
                                6      were mailed to Huntington               USB_Sanchez000353 & 429) (U.S. Bank
                                7      Beach address and Pointe Drive,         billing statements).
                                       La Brea address.
                                8
                                9
                                                                               Exhibit 27 to Sanchez, III Decl.,
                               10                                              (Sanchez, III Depo., 110:5-12.)
                               11   46. Plaintiff’s mother’s maiden
                                                                               Exhibit 28 to Sanchez, III Decl.,
                               12       name is Dorame.
                                                                               (VMS000740).
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                                                                               Sanchez, III Decl., ¶ 38.
                               14
                               15
                                                                               Exhibit 28 to Sanchez, III Decl.,
                               16   47. Father’s mother’s maiden name          (VMS000740-41).
                               17       is Workman
                                                                               Sanchez, III Decl., ¶ 39.
                               18
                               19
                                                                               Exhibit 28 to Sanchez, III Decl.,
                               20                                              (VMS000740-41).
                               21
                                    48. Workman is the answer to the   Sanchez, III Decl., ¶ 40.
                               22
                                        security question of “What is
                               23       your mother’s maiden name?” on
                                        the Account.
                               24
                               25
                               26
                               27    Case # CV 18-500 JLS (KSx)         9 of 32 Sanchez, III v. U.S. Bank National Association
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                                1
                                                                        Exhibit 4 to Loker Decl., (Bates
                                2   49. Father deposited check on       USB_SANCHEZ000523) (Deposit slip
                                3       December 17, 2015 at 10:18 a.m. for check deposited on December 17,
                                                                        2017).
                                4
                                5   50. On December 17, 2015 at 3:09
                                        p.m., the birthdate on the account Exhibit 5 to Loker Decl., (Bates USB_
                                6       was changed from 1963 to           SANCHEZ000591-592) (Fusion Notes).
                                7       Plaintiff’s 1983 date.

                                8   51. US Bank does not have a policy         Exhibit 17 to Loker Decl., (Deposition
                                9       requiring an individual have a         of Aaron Nagato (“Nagato Depo.”), 16:1-
                                        form of identification containing      14; 46:19-25).
                               10       the birthdate that this individual
                               11       wants to modify on the account.
                               12
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                               13   52. No more payments were made         Exhibit 23 to Loker Decl., (Bates
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                                        on the account after March 21,     USB_Sanchez000353 & 429) (U.S. Bank
                               14       2017, which had an outstanding billing statements).
                               15       balance of $1,165.95 at that time.
                               16
                               17   53. Sometime prior to September            Sanchez, III Decl., ¶¶ 44-45.
                                        2017, Plaintiff received a call
                               18       from US Bank attempting to
                               19       collect on the account.
                               20
                               21
                                                                               Exhibit 27 to Sanchez, III Decl.,
                               22
                                                                               (Sanchez, III Depo., 157:11-14.)
                               23
                                    54. Plaintiff has never had a personal
                                                                           Exhibit 28 to Sanchez, III Decl.,
                               24       US Bank Account.
                                                                           (VMS000748).
                               25
                                                                               Sanchez, III Decl., ¶¶ 46-47.
                               26
                               27    Case # CV 18-500 JLS (KSx)        10 of 32 Sanchez, III v. U.S. Bank National Association
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                                1
                                                                               Exhibit 27 to Sanchez, III Decl.,
                                2                                              (Sanchez, III Depo., 180:23-181:12)
                                3   55. Father’s information has been
                                        put on Plaintiff’s credit report in    Exhibit 28 to Sanchez, III Decl.,
                                4       the past.                              (VMS000742).
                                5
                                                                               Sanchez, III Decl., ¶ 49.
                                6
                                7
                                                                               Exhibit 27 to Sanchez, III Decl.,
                                8                                              (Sanchez, III Depo., 33:12-34:3).
                                9   56. Plaintiff went into a U.S. Bank
                                                                               Exhibit 28 to Sanchez, III Decl.,
                               10       Branch in Lake Forrest.
                                                                               (VMS000739-740, 743).
                               11
                                                                               Sanchez, III Decl., ¶ 51.
                               12
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                               14                                              Exhibit 27 to Sanchez, III Decl.,
                               15   57. Plaintiff informed management          (Sanchez, III Depo., 37:16-38:4)
                                        at this branch that he did not
                               16       open the account, and that the         Exhibit 28 to Sanchez, III Decl.,
                               17       account did not belong to him.         (VMS000741).
                               18                                              Sanchez, III Decl., ¶ 51.
                               19
                               20
                               21   58. Plaintiff was told that since he
                                                                         Exhibit 27 to Sanchez, III Decl.,
                               22       was claiming the account was not
                                                                         (Sanchez, III Depo., 174:3-23).
                                        his and that the address did not
                               23       match, the bank could not share
                                                                         Sanchez, III Decl., ¶ 51.
                               24       information on the account with
                                        Mr. Sanchez.
                               25
                               26
                               27    Case # CV 18-500 JLS (KSx)        11 of 32 Sanchez, III v. U.S. Bank National Association
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                                1
                                                                               Exhibit 27 to Sanchez, III Decl.,
                                2   59. Management said that they              (Sanchez, III Depo., 33:12-34:3).
                                3       would investigate and get back to
                                        Plaintiff. However, Plaintiff     Exhibit 28 to Sanchez, III Decl.,
                                4       never received a follow up call   (VMS000745).
                                5       from this bank branch.
                                                                          Sanchez, III Decl., ¶ 52.
                                6
                                7
                                    60. U.S. Bank never performed an           Exhibit 6 to Loker Decl., (Deposition of
                                8       investigation on this direct           Lisa Paulson (“Paulson Depo.”), 67:3-
                                9       dispute relating to the Account.       14).

                               10
                               11   61. On September 7, 2017, Plaintiff Exhibit 29 to Sanchez, III Decl., (Trans
                                        submitted a written dispute to    Union’s dispute response (VMS000021).
                               12       Trans Union, through their online
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                               13       dispute service.
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                               14
                               15   62. Within this dispute Plaintiff          Exhibit 7 to Loker Decl., (Kundert’s
                                        stated that, “This account is not      ACDV response
                               16       mine. I believe it belongs to my       (USB_SANCHEZ000333)).
                               17       Father Victor M Sanchez, Jr.”
                               18                                              Exhibit 7 to Loker Decl., (Kundert’s
                               19   63. US Bank received, investigated,        ACDV response
                                        and verified this dispute from         (USB_SANCHEZ000333)).
                               20       Trans Union; and in the process
                               21       of verifying, the generation code Exhibit 18 to Loker Decl., (Deposition
                                        was deleted from Victor M.        of Chris Kundert (“Kundert Depo.”),
                               22
                                        Sanchez, III because Kundert did 35:13-20; 43:23-44:9).
                               23       not believe it was relevant.
                               24
                               25
                               26
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                                1
                                    64. On September 15, 2017, US              Exhibit 8 to Loker Decl., (Arellano
                                2       Bank received a dispute from           ACDV response
                                3       Equifax, which stated that the         (USB_SANCHEZ000324-25).
                                        account was “not his”. Crystal
                                4       Kriz investigated and verified
                                5       this dispute from Equifax.

                                6
                                7   65. On September 27, 2017, US              Exhibit 2 to Loker Decl., (Bates
                                        Bank called the “8221”                 USB_SANCHEZ000013) (Recovery
                                8       telephone number.                      Management System Account Notes)
                                9
                               10                                              Exhibit 3 to Loker Decl., (Bates
                               11                                              VMS_000721) (Call between Sanchez,
                                                                               II and US Bank).
                               12   66. Father answered this call.
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                               13                                              Sanchez, III Decl., ¶ 54.
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                               14
                               15
                                    67. Father told US Bank that the
                               16       account did not belong to              Exhibit 3 to Loker Decl., (Bates
                               17       Plaintiff, but instead belonged to     VMS_000722 (Transcript of Call
                                        himself. Also, he states that          between Sanchez, II and US Bank).
                               18       there must be something in their
                               19       system that is “messed up.”            Sanchez, III Decl., ¶ 54.
                               20
                               21   68. US Bank representative             Exhibit 3 to Loker Decl., (Bates
                                        responds, “Well, that certainly is VMS_000722 (Transcript of Call
                               22
                                        possible. Unfortunately, over the between Sanchez, II and US Bank).
                               23       phone when I get a mismatch . . .
                                        I can’t go any further in this
                               24
                                        matter.”
                               25
                               26
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                                1
                                    69. On November 27, 2017, Plaintiff        Exhibit 28 to Sanchez, III Decl.,
                                2       called into US Bank after he           (VMS000737).
                                3       received a voicemail from US
                                        Bank.
                                4
                                5
                                6   70. On this call, Plaintiff again          Exhibit 28 to Sanchez, III Decl.,
                                7       disputes owning the account.           (VMS000738).

                                8
                                9
                                    71. US Bank representative believes        Exhibit 28 to Sanchez, III Decl.,
                               10       that since the social security         (VMS000739-40).
                               11       number matches, the account
                                        belongs to Plaintiff.
                               12
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                               13
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                                    72. The maiden name associated
                               14       with the Account belongs to            Exhibit 28 to Sanchez, III Decl.,
                               15       Father’s mother, not Plaintiff’s       (VMS000740-41).
                                        mother.
                               16
                               17
                                    73. Soon after Plaintiff denies that
                               18       the account belongs to him, US         Exhibit 28 to Sanchez, III Decl.,
                               19       Bank representative asks how           (VMS000748-49).
                                        Plaintiff is going to pay off the
                               20       account.
                               21
                               22                                              Exhibit 2 to Loker Decl., (Bates
                               23   74. Due to this call, Plaintiff’s          USB_SANCHEZ000012) (Recovery
                                        number becomes the primary             Management System Account Notes)
                               24       number associated with the
                               25       Account.                               Exhibit 9 to Loker Decl., (Deposition of
                                                                               Joseph Kemp (“Kemp Depo.”), 46:25-
                               26                                              47:17)
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                                1
                                    75. Plaintiff never received a follow
                                2       up call regarding the dispute          Exhibit 27 to Sanchez, III Decl.,
                                3       made in this telephone call.           (Sanchez, III Depo., 111:13-16).

                                4
                                5
                                    76. On November 30, 2017, the              Exhibit 2 to Loker Decl., (Bates
                                6       Account was charged off.               USB_SANCHEZ000012) (Recovery
                                                                               Management System Account Notes)
                                7
                                8
                                9
                                                                               Exhibit 11 to Loker Decl., (US Bank’s
                               10                                              Supplemental Responses to Plaintiff’s
                               11                                              Requests for Admission (“USB’s Sup.
                                    77. US Bank published the Account
                                                                               RFA Resp.”), Set One, No. 6)
                               12       as belonging to Plaintiff.
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                               13                                              Exhibit 36-39 to Sanchez, III Decl., ¶¶
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                                                                               78-81.
                               14
                               15
                               16
                               17   78. On February 15, 2018, Plaintiff
                                        submitted a written dispute to         Exhibit 30-32 to Sanchez, III Decl., ¶¶
                               18       Equifax, Trans Union, and              72-74 (VMS000176-9; 251-53; 30-33)
                               19       Experian. Each dispute included        (Plaintiff’s Dispute Letter to Credit
                                        a copy of his social security card     Reporting Agency).
                               20       and driver’s license in each of
                               21       these disputes. Plaintiff also
                                        explicitly states in the dispute
                               22       that the Huntington Beach
                               23       address is not a former address
                                        of his, and that the Account
                               24       belongs to his Father.
                               25
                               26
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                                1
                                                                               Exhibit 19 to Loker Decl., (Deposition
                                2                                              of Danella Thurman (“Thurman Depo.”),
                                    79. Data Analysts Danella Thurman          31:23-32:1-9).
                                3       and Chris Kundert reviewed
                                4       Plaintiff’s dispute letter during      Exhibit 18 to Loker Decl., (Kundert
                                        their investigations.                  Depo., 34:6-15).
                                5
                                6
                                7
                                                                               Exhibit 10 to Loker Decl., (Bates
                                8                                              USB_SANCHEZ000167-69, (Kundert’s
                                    80. On March 8, 2018, Chris
                                9                                              ACDV)).
                                        Kundert verified the Account as
                               10       belonging to Plaintiff to Equifax.
                                                                           Exhibit 11 to Loker Decl., (USB’s Sup.
                                        In the process of verifying,
                               11                                          RFA Resp., Set One, Nos. 49 & 50)
                                        Kundert deleted the generational
                               12       code from Sanchez, III because
                                                                           Exhibit 18 to Loker Decl., (Kundert
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                                        he believed it was not relevant.
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                               13                                          Depo., 35:13-20; 43:23-44:9).
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                               14
                               15   81. On March 14, 2018, Equifax        Exhibit 33 to Sanchez, III Decl.,
                                        responded to Plaintiff’s February (Equifax Response)
                               16       15, 2018 dispute by deleting the
                               17       Account.
                               18
                               19                                              Exhibit 12 to Loker Decl., (Bates USB_
                                                                               SANCHEZ000244-47 (Thurman
                               20   82. On March 8, 2018, Danella              Experian ACDV)).
                               21       Thurman verified the Account as
                                        belonging to Plaintiff to              Exhibit 11 to Loker Decl., (USB’s Sup.
                               22
                                        Experian. In the process she           RFA Resp., Set One, Nos. 48 & 50)
                               23       deleted the generation code “III”
                                        because it did not match US            Exhibit 19 to Loker Decl., (Thurman
                               24
                                        Bank’s records.                        Depo., 42:23-43:3)
                               25
                               26
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                                1
                                                                          Exhibit 12 to Loker Decl., (Bates USB_
                                2   83. On March 9, 2018, Danella         SANCHEZ000244-47) (Thurman
                                3       Thurman verified the Account as Experian ACDV).
                                        belonging to Plaintiff to Trans
                                4       Union. In the process she         Exhibit 11 to Loker Decl., (USB’s Sup.
                                5       deleted the generation code “III” RFA Resp., Set One, Nos. 47 & 50)
                                        because it did not match US
                                6       Bank’s records.                   Exhibit 19 to Loker Decl., (Thurman
                                7                                         Depo., 42:23-43:3.)

                                8                                              Exhibit 14 to Loker Decl., (Bates
                                9                                              USB_SANCHEZ00005 (Monarch
                                                                               Recovery Management’s Account
                               10                                              Notes) (“Monarch Account Notes”))
                                    84. On March 1, 2018, US Bank
                               11       assigned the debt to Monarch
                                                                       Exhibit 9 to Loker Decl., (Kemp Depo.,
                               12       Recovery Management to collect
                                                                       26:3-19).
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                                        on US Bank’s behalf.
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                               13
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                                                                               Exhibit 6 to Loker Decl., (Paulson
                               14                                              Depo., 36:7-9).
                               15
                               16                                              Exhibit 14 to Loker Decl., (Bates
                               17                                              USB_SANCHEZ00005 (Monarch
                                                                               Account Notes).
                               18
                               19                                              Exhibit 15 to Loker Decl., (Bates
                                                                               VMS000728) (Transcript of Call
                               20   85. On March 10, 2018, Monarch             between Sanchez, III and Monarch).
                               21       called Plaintiff in an attempt to
                                        collect a debt.                        Sanchez, III Decl., ¶¶ 55-56.
                               22
                               23
                               24
                               25
                               26
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                                1
                                    86. When asked by Monarch’s           Exhibit 15 to Loker Decl., (Bates
                                2       representative if fraud occurred VMS000729) (Transcript of Call
                                3       on this account, Plaintiff        between Sanchez, III and Monarch).
                                        responds, “Yeah, because it's not
                                4       mine.”
                                5
                                6                                              Exhibit 15 to Loker Decl., (Bates
                                7                                              VMS000729) (Transcript of Call
                                    87. After Plaintiff stated that the
                                                                               between Sanchez, III and Monarch).
                                8       Account was not his, Monarch
                                        stated that it would place the
                                9                                              Exhibit 14 to Loker Decl., (Bates
                                        account in fraud status and that
                                                                               USB_SANCHEZ00005 (Monarch
                               10       US Bank would send Plaintiff a
                                                                               Account Notes)).
                                        fraud packet.
                               11
                                                                               Sanchez, III Decl., ¶ 58.
                               12
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                                                                               Exhibit 16 to Loker Decl., (Deposition
                               14   88. Monarch placed Plaintiff’s             of Diane Mazzacano, Monarch
                               15       account in fraud status.               Representative (“Mazzacano Depo.”),
                                                                               21:10-20)
                               16
                               17
                                                                               Exhibit 2 to Loker Decl., (Bates
                               18                                              USB_SANCHEZ000010) (Recovery
                               19                                              Management System Account Notes)
                               20   89. Monarch sent an email and
                                        electronically sent a fraud status
                               21                                              Exhibit 16 to Loker Decl., (Mazzacano
                                        code to US Bank to notify them
                                                                               Depo., 21:10-20; 34:14-18; 47:11-19)
                               22       that Plaintiff was claiming that
                                        the account was fraudulently
                               23       opened.
                               24
                               25
                               26
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                                1
                                                                               Exhibit 15 to Loker Decl., (Bates
                                2   90. Monarch representative told
                                                                               VMS000729) (Transcript of Call
                                        Plaintiff on the call that US
                                3                                              between Sanchez, III and Monarch).
                                        Bank would send a fraud packet
                                4       to Plaintiff.
                                                                               Sanchez, III Decl., ¶ 58.
                                5
                                6                                              Exhibit 2 to Loker Decl., (Bates
                                7   91. US Bank did not send Plaintiff         USB_SANCHEZ000010) (Recovery
                                        any packet, nor investigate this       Management System Account Notes).
                                8       dispute.
                                9                                              Decl. of Sanchez, III ¶ 59.

                               10
                               11   92. US Bank is a furnisher of              Exhibit 11 to Loker Decl., (USB’s Sup.
                                        information as defined under 15        RFA Resp., Set One, No. 1)
                               12       U.S.C. § 1681s-2.
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                               14   93. US Bank investigated after      Exhibit 11 to Loker Decl., (USB’s Sup.
                               15       receiving Plaintiff’s disputes  RFA Resp., Set One, Nos. 18-29).
                                        from the Trans Union, Experian,
                               16       and Equifax.
                               17
                               18                                              Exhibit 27 to Sanchez, III Decl.,
                                    94. The signature on the checks that
                               19                                              (Sanchez, III Depo., 105:1-3).
                                        were deposited into the Account
                               20       were Father’s signature.
                                                                               Sanchez, III Decl., ¶ 60.
                               21
                               22
                                                                               Exhibit 27 to Sanchez, III Decl.,
                               23                                              (Sanchez, III Depo., 97:13-19).
                                    95. Plaintiff had never made
                               24       withdrawals on the account and
                                                                           Sanchez, III Decl., ¶ 62.
                                        never accessed the line of credit.
                               25
                               26
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                                1
                                    96. An address on one of the               Exhibit 27 to Sanchez, III Decl.,
                                2       statements on the Account was          (Sanchez, III Depo., 97:24-98:6).
                                3       an Olive Place, Brea address.

                                4
                                5                                              Exhibit 27 to Sanchez, III Decl.,
                                    97. Plaintiff does not recognize that      (Sanchez, III Depo., 97:24-98:6).
                                6       address.
                                7                                              Sanchez, III Decl., ¶ 63.

                                8
                                9   98. Thurman verified the                   Exhibit 18 to Loker Decl., (Thurman
                                        Huntington Beach address as            Depo., 62:9-15.)
                               10       being Plaintiff’s address since
                               11       Plaintiff’s DOB and SSN were
                                        listed on the account.
                               12
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                               13
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                                    99. Kundert did nothing to verify       Exhibit 19 to Loker Decl., (Kundert
                               14       whether the disputed Huntington Depo., 34:24-35:5).
                               15       Beach address actually belonged
                                        to Plaintiff before verifying it as
                               16       accurate.
                               17
                               18                                              Exhibit 19 to Loker Decl., (Kundert
                               19                                              Depo., 39:11-40:2).
                               20   100. Kundert would verify a debt
                               21      as belonging to a person
                                       disputing, even if the birthdate
                               22
                                       of the individual did not match
                               23      what was in the initial
                                       application.
                               24
                               25
                               26
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                                1
                                    101. Kriz would verify an                  Exhibit 20 to Loker Decl., (Deposition
                                2      account, even if the date of birth      of Crystal Kriz, (“Kriz Depo.”), 39:8-
                                3      of the individual disputing did         10).
                                       not match the date of birth that
                                4      was on the initial application
                                5      used to open the account.

                                6
                                7   102. US Bank provided Monarch              Exhibit 16 to Loker Decl., (Mazzacano
                                       with the definition and                 Depo., 20:3-7)
                                8      qualifications of what fraud is.
                                9
                               10   103. Specific words like “I didn’t         Exhibit 16 to Loker Decl., (Mazzacano
                               11      open this account” or “this isn’t       Depo., 20:24-21:4)
                                       my account” is the definition for
                               12      fraud.
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                               14                                              Exhibit 6 to Loker Decl., (Paulson
                                    104. US Bank’s data analysts do
                               15                                              Depo., 30:1-16).
                                       not access records outside of US
                               16      Bank’s internal records and
                                                                               Exhibit 19 to Loker Decl., (Kundert
                                       systems.
                               17                                              Depo., 35:6-9).
                               18
                               19   105. Kundert only examines US              Exhibit 19 to Loker Decl., (Kundert
                                       Bank’s internal documents when          Depo., 16:13-17:1).
                               20      investigating a dispute.
                               21
                               22
                               23
                                    106. Thurman only examines US
                                                                               Exhibit 18 to Loker Decl., (Thurman
                               24      Bank’s internal documents when
                                                                               Depo., 77:3-20.)
                                       investigating a dispute.
                               25
                               26
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                                1
                                    107. Kriz only examines US                 Exhibit 20 to Loker Decl., (Kriz Depo.,
                                2      Bank’s internal documents when          29:13-22).
                                3      investigating a dispute.

                                4
                                5   108. US Bank’s policies define a    Exhibit 21 to Loker Decl., (Bates
                                       reasonable investigation as one  USB_SANCHEZ000667 & 697) (US
                                6      that “reviews all information    Bank’s policies and procedures).
                                7      received with the dispute, along
                                       with applicable systems and bank
                                8      documentation for any
                                9      information relevant to the
                                       dispute.”
                               10
                               11
                                    109. In a dispute where consumer
                               12      states that the account does not
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                               13      belong to him or her, the dispute
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                                       analyst should review the
                               14      account on a system of record,
                               15      the customer profile they are able Exhibit 6 to Loker Decl., (Paulson
                                       to locate for this customer and    Depo., 55:8-13).
                               16      the account in question and any
                               17      notations on that account that
                                       may relate to the disputed items
                               18      and any other documentation
                               19      they may find relevant.
                               20
                               21   110. Kundert would have looked at Exhibit 19 to Loker Decl., (Kundert
                                       the Account’s notes in             Depo., 41:18-24).
                               22
                                       investigating Plaintiff’s dispute.
                               23
                               24
                                    111. Thurman would have looked             Exhibit 18 to Loker Decl., (Thurman
                               25      at the Account’s notes in               Depo., 88:16-89:5.)
                                       investigating Plaintiff’s dispute.
                               26
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                                1
                                    112. The Account’s Recovery
                                2      Management System notes state
                                3      that a man called in claiming he        Exhibit 2 to Loker Decl., (Bates
                                       was Victor Sanchez at 8221              USB_SANCHEZ000013) (Recovery
                                4      telephone number; states his            Management System Account Notes)
                                5      social security number and he
                                       gave a different full social            Exhibit 9 to Loker Decl., (Kemp Depo.,
                                6      security number so it appeared          42:12-43:2).
                                7      we had the wrong Victor
                                       Sanchez. He said his son with
                                8      same name did not have an
                                9      account with US Bank and
                                       removed the phones.
                               10
                               11
                                                                               Exhibit 2 to Loker Decl., (Bates
                               12   113. The Account’s Recovery
                                                                               USB_SANCHEZ000012-13) (Recovery
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                                       Management System notes state
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                               13                                              Management System Account Notes)
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                                       that Plaintiff called in and
                               14      claimed the account belonged to
                                                                               Exhibit 28 to Sanchez, III Decl.,
                                       Father, not Plaintiff.
                               15                                              (VMS000739-40).
                               16   114. Thurman did not listen to any         Exhibit 18 to Loker Decl., (Thurman
                               17      call recordings or have anyone          Depo., 139:19-23; 141:6-8; 146:14-19.)
                                       else listen to any call records.
                               18
                               19   115. Kundert did not listen to any         Exhibit 19 to Loker Decl., (Kundert
                                       call recordings or have anyone          Depo., 72:14-73:13).
                               20      else listen to any call records.
                               21
                               22
                                    116. If Thurman had heard the              Exhibit 18 to Loker Decl., (Thurman
                               23      recordings, she would have              Depo., 140:17-24.)
                                       sought further investigation or
                               24
                                       advise from leadership before
                               25      verifying it.
                               26
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                                1
                                    117. If Kundert had heard the              Exhibit 19 to Loker Decl., (Kundert
                                2      recordings, he would not have           Depo., 72:14-19).
                                3      verified, but instead found that it
                                       belonged to Father.
                                4
                                5
                                                                               Exhibit 18 to Loker Decl., (Thurman
                                6                                              Depo., 100:11-25.)
                                7   118. Initial contract is relevant in
                                                                               Exhibit 20 to Loker Decl., (Kriz Depo.
                                8      examining disputes like
                                                                               31:22-32:4).
                                       Plaintiff’s dispute.
                                9
                                                                               Exhibit 19 to Loker Decl., (Kundert
                               10                                              Depo., 32:16-23).
                               11
                               12   119. Majority of the time there is         Exhibit 18 to Loker Decl., (Thurman
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                               13      no contract in a line of credit         Depo., 116:5-8.)
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                                       account.
                               14
                               15
                                    120. Initial online application has        Exhibit 1 to Loker Decl., (Bates
                               16      the name, SSN, DOB, and                 USB_SANCHEZ000347 (Initial
                               17      address of the consumer.                Application).
                               18
                               19
                                                                               Exhibit 18 to Loker Decl., (Thurman
                               20                                              Depo., 122:10-14.)
                               21
                                                                               Exhibit 20 to Loker Decl., (Kriz Depo.
                               22
                                    121. The dispute analysts did not          45:9-12).
                               23      review the initial online
                                       application.                            Exhibit 19 to Loker Decl., (Kundert
                               24
                                                                               Depo., 65:3-11).
                               25
                               26
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                                1
                                    122. If the dispute analysts had           Exhibit 18 to Loker Decl., (Thurman
                                2      seen the initial online                 Depo., 123:3-11.)
                                3      application, they would have
                                       investigated further instead of         Exhibit 20 to Loker Decl., (Kriz Depo.
                                4      verifying.                              45:9-17).
                                5
                                6   123. Every month, US Bank                  Exhibit 6 to Loker Decl., (Paulson
                                7      receives approximately 700              Depo., 14:17-15:3).
                                       direct disputes, and between
                                8      2,500 to 3,000 indirect disputes.
                                9
                               10   124. A dispute analyst could               Exhibit 18 to Loker Decl., (Thurman
                               11      receive as many as one hundred          Depo., 13:23-14:4.)
                                       disputes in a single day.
                               12
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                                                                               Exhibit 20 to Loker Decl., (Kriz Depo.,
                               14   125. A dispute analyst typically           13:5-19; 20:6-15).
                               15      would complete 30-40 disputes
                                       in a day.                               Exhibit 19 to Loker Decl., (Kundert
                               16                                              Depo., 15:12-15).
                               17
                               18   126. A typically a dispute is started Exhibit 20 to Loker Decl., (Kriz Depo.,
                               19      and finished in the same day.      58:7-20).
                               20
                                                                               Exhibit 20 to Loker Decl., (Kriz Depo.,
                               21                                              42:3-20).
                               22
                                                                               Exhibit 22 to Loker Decl., (Deposition
                               23   127. Deborah Arellano was                  of Deborah Arellano, (“Arellano
                                       submitting ACDVs.                       Depo.”), 16:1-11; 17:13-17).
                               24
                               25                                              Exhibit 8 to Loker Decl., (Arellano
                                                                               ACDV response
                               26
                                                                               (USB_SANCHEZ000324-25).
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                                1
                                    128. Arellano has no training on           Exhibit 22 to Loker Decl., (Arellano
                                2      how to investigate or complete          Depo., 22:21-23:12; 24:3-8).
                                3      an ACDV.

                                4
                                5   129. Arellano does not know how            Exhibit 22 to Loker Decl., (Arellano
                                       to read an ACDV.                        Depo., 17:13-17).
                                6
                                7
                                    130. Arellano is unfamiliar with           Exhibit 22 to Loker Decl., (Arellano
                                8      the ACDV process.                       Depo., 16:17-25; 22:21-23:12; 24:3-8).
                                9
                               10   131. Arellano did not believe that a Exhibit 22 to Loker Decl., (Arellano
                               11      reasonable investigation has      Depo., 24:3-8).
                                       anything to do with submitting
                               12      an ACDV.
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                               13
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                               14   132. Each ACDV states that, “By Exhibit 8 to Loker Decl., (Arellano
                               15      submitting this ACDV, you       ACDV response
                                       certify that you have reviewed  (USB_SANCHEZ000325).
                               16      and considered all associated
                               17      Images, you have verified the
                                       accuracy of the data in
                               18      compliance with all legal
                               19      requirements, and your computer
                                       and/or manual records will be
                               20      adjusted to reflect any changes
                               21      noted.”
                               22
                               23
                                    133. Arellano had not reviewed a
                                                                               Exhibit 22 to Loker Decl., (Arellano
                               24      single document or piece of
                                                                               Depo., 21:22-22:2).
                                       information regarding the
                               25
                                       dispute.
                               26
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                                1
                                    134. Arellano was a part of the            Exhibit 6 to Loker Decl., (Paulson
                                2      investigation into Plaintiff’s          Depo., 69:22-23).
                                3      dispute.

                                4
                                5   135. Paulson testified that Arellano Exhibit 6 to Loker Decl., (Paulson
                                       was a dispute analyst.            Depo., 69:13-17).
                                6
                                7
                                    136. US Bank published the           Exhibit 11 to Loker Decl., (USB’s Sup.
                                8      Account as belonging to Plaintiff RFA Resp., Set One, Nos. 3-6, 35-38).
                                9      to Equifax, Experian, and Trans
                                       Union.
                               10
                               11
                                                                               Exhibit 11 to Loker Decl., (USB’s Sup.
                               12   137. US Bank is a collector of
                                                                               RFA Resp., Set One, No. 58).
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                                       consumer debts.
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                               13
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                               14
                               15                                              Exhibit 1 to Loker Decl., (Bates
                                    138. The Account was a Line of
                                                                               USB_SANCHEZ000347 (Initial
                               16      Credit for an individual.
                                                                               Application).
                               17
                               18
                                                                               Exhibit 2 to Loker Decl., (Bates
                               19   139. Plaintiff received calls from         USB_SANCHEZ000010-18) (Recovery
                                       US Bank in an attempt to collect        Management System Account Notes
                               20
                                       the Account.                            demonstrating calls to Plaintiff’s “5894”
                               21                                              telephone number).
                               22
                               23   140. US Bank received the                  Exhibit 12 to Loker Decl., (Bates USB_
                                       disputes from credit reporting          SANCHEZ000246 (Thurman Experian
                               24
                                       agencies on March 8, 2018.              ACDV, states on top left that ACDV
                               25                                              was received on March 8, 2018)).
                               26
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                                1                                              Exhibit 2 to Loker Decl., (Bates
                                                                               USB_SANCHEZ000010) (Recovery
                                2                                              Management System Account Notes)
                                3
                                4   141. Plaintiff received a collection       Exhibit 14 to Loker Decl., (Bates
                                5      call on March 9, 2018 at 3:15           USB_SANCHEZ00005 (“Monarch
                                       p.m. from Monarch Recovery.             Account Notes”)
                                6
                                7
                                                                               Exhibit 19 to Loker Decl., (Kundert
                                8   142. Dispute analysts do not have          Depo., 17:2-4)
                                9      access to imaged checks on the
                                       account.                                Exhibit 6 to Loker Decl., (Paulson
                               10                                              Depo., 17:17-19)
                               11
                               12   143. Dispute analysts do not have          Exhibit 19 to Loker Decl., (Kundert
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                               13      access to call recordings.              Depo., 33:14-20; 88:8-10)
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                               14
                               15   144. If a dispute analyst did ask for
                                       call recordings, it would cause a Exhibit 20 to Loker Decl., (Kriz Depo.,
                               16      controversy, and often times       49:5-17).
                               17      result in management saying,
                                       “That’s not something you need
                               18      to worry about.”
                               19
                               20
                                    145. Kriz testified that if a
                               21      consumer’s dispute did not              Exhibit 20 to Loker Decl., (Kriz Depo.,
                                       match the substance of US               29:3-22)
                               22
                                       Bank’s account notes, “[w]e
                               23      would just simply report back
                                       what is listed in [US Bank’s
                               24
                                       account notes].
                               25
                               26
                               27    Case # CV 18-500 JLS (KSx)        28 of 32 Sanchez, III v. U.S. Bank National Association
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                                1
                                    146. Kundert testified that “the
                                2      basic function of the ACDV, is to Exhibit 19 to Loker Decl., (Kundert
                                3      simply validate that our          Depo., 84:16-19).
                                       information on our end matches
                                4      the information provided by the
                                5      bureaus.”

                                6
                                7   147. When asked what to do when
                                       an address in the dispute does not Exhibit 18 to Loker Decl., (Thurman
                                8      match the address in US Bank’s Depo., 61:12-15).
                                9      records, Thurman stated, “I
                                       would just put the address that
                               10      we have on file.”
                               11
                                                                               Sanchez, III Decl., ¶ 2.
                               12   148. Plaintiff is a natural person.
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                               13
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                               14   149. Although US Bank will flag
                               15      a telephone number as
                                       suspicious when an individual      Exhibit 17 to Loker Decl., (Nagato
                               16      incorrectly answers security       Depo., 37:7-25)
                               17      questions, US Bank will still call
                                       this number for collection
                               18      purposes.
                               19
                               20
                               21   150. Plaintiff’s clear statement that
                                       the account does not belong to     Exhibit 20 to Loker Decl., (Kriz Depo.,
                               22
                                       him is insufficient to be a claim  74:3-21)
                               23      of fraud because, “I believe it
                                       just said [the Account] didn’t
                               24
                                       belong to him. But it didn’t say
                               25      fraud or fraudulent.”
                               26
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                                1
                                    151. When a consumer, similar to Exhibit 9 to Loker Decl., (Kemp Depo.,
                                2      Plaintiff, is complaining of a file 32:14-18).
                                3      not belonging to him, the account
                                       would be sent to the fraud
                                4      investigator.
                                5
                                6   152. Even after Thurman reviewed Exhibit 19 to Loker Decl., (Thurman
                                7      the account notes, she did not see Depo., 138:22-139:23.)
                                       anything that would lead her to
                                8      investigate any phone calls.
                                9
                                    153. The information being                 Exhibit 20 to Loker Decl., (Kriz Depo.,
                               10      reported to the Credit Bureaus in       29:3-22)
                               11      this scenario comes from US
                                       Bank’s Hogan system of records,
                               12      and US Bank’s Dispute Analysts
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                               13      simply “report back what is listed
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                                       in Hogan.”
                               14   154. Kriz testified that she would         Exhibit 20 to Loker Decl., (Kriz Depo.,
                               15      hope that call recordings like the      55:25-56:3)
                                       ones in this case would absolve
                               16      her of the debt if it was her
                               17      dispute.
                                    155. Kriz also explained that “[i]f        Exhibit 20 to Loker Decl., (Kriz Depo.,
                               18      this was [her] dispute, [Kriz]          56:16-18)
                               19      would be really mad and
                                       wouldn't be able to understand
                               20      why this can’t be fixed and be
                               21      resolved and be done and over
                                       with.”
                               22
                                    156. Thurman believes that pulling         Exhibit 19 to Loker Decl., (Thurman
                               23      the online application is “not part     Depo., 28:8-29:12).
                                       of our procedures.”
                               24
                                    157. At one point, US Bank                 Exhibit 20 to Loker Decl., (Kriz Depo.,
                               25      provided Target gift cards to           16:6-10)
                                       those employees that handled the
                               26
                                       most disputes.
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                                1   158. The number of disputes                Exhibit 20 to Loker Decl., (Kriz Depo.,
                                       handled by each dispute analyst         17:15-24)
                                2      was publicly displaced for all
                                3      dispute analysts to see with the
                                       “top producers” being recognized
                                4      as “stars.”
                                5   159. This public display resulted in       Exhibit 20 to Loker Decl., (Kriz Depo.,
                                       embarrassment for those who             18:13-19:6)
                                6      reviewed fewer disputes.
                                7   160. The “bottom producers” even           Exhibit 20 to Loker Decl., (Kriz Depo.,
                                       had their names written on the          19:18-20)
                                8      board in red.
                                9   161. Kriz testified that US Bank           Exhibit 20 to Loker Decl., (Kriz Depo.,
                                       was constantly pushing for more         19:23-20:3)
                               10      and more disputes to be
                               11      completed.
                                    162. Kriz quit because of the stress       Exhibit 20 to Loker Decl., (Kriz Depo.,
                               12      of the trying to investigate more       13:5-10)
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                               13      disputes than time in the day.
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                                    163. Kriz agreed that simple               Exhibit 20 to Loker Decl., (Kriz Depo.,
                               14      communications to a consumer            45:2-15; 46:19-47:15)
                               15      via e-mail or telephone could
                                       quickly resolve various
                               16      discrepancies.
                               17   164. If Kriz was a consumer                Exhibit 20 to Loker Decl., (Kriz Depo.,
                                       disputing inaccurate information,       47:19-22)
                               18
                                       Kriz would want the Dispute
                               19      Analyst to take these steps;
                                       however, such actions were not
                               20
                                       authorized by U.S. Bank’s
                               21      policies since U.S. Bank simply
                                       wanted to “push production.”
                               22
                                                                               Exhibit 14 to Loker Decl., (Bates
                               23                                              USB_SANCHEZ00005 (Monarch
                                    165. Monarch called Plaintiff’s            Account Notes)
                               24
                                       “5894” cellular telephone
                               25      number on March 5, 2018.                Exhibit 16 to Loker Decl., (Mazzacano
                               26                                              Depo., 29:1-12)

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                                1                                               Exhibit 14 to Loker Decl., (Bates
                                                                                USB_SANCHEZ00005 (Monarch
                                2                                               Account Notes)
                                3    166. Monarch called Plaintiff’s
                                4       “5894” cellular telephone
                                                                                Exhibit 16 to Loker Decl., (Mazzacano
                                        number on March 6, 2018.
                                5                                               Depo., 31:7-15)

                                6
                                7
                                8                                               Exhibit 14 to Loker Decl., (Bates
                                9                                               USB_SANCHEZ00006 (Monarch
                                     167. Monarch called Plaintiff’s
                                                                                Account Notes)
                               10       “5894” cellular telephone
                                        number on March 8, 2018.
                               11                                               Exhibit 16 to Loker Decl., (Mazzacano
                                                                                Depo., 31: 16-22)
                               12
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                               13
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                               14
                               15
                                    Dated: May 23, 2019                                              Respectfully submitted,
                               16
                                                                                           KAZEROUNI LAW GROUP, APC
                               17
                               18                                                             By: /s/ Matthew M. Loker
                               19                                                               MATTHEW M. LOKER, ESQ.
                                                                                                 ATTORNEY FOR PLAINTIFF
                               20
                               21
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                               26
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